Case: 1:20-mj-00525-SKB Doc #: 9 Filed: 07/21/20 Page: 1 of 1 PAGEID #: 180

® AO 456 (Rev. 5/85) Notice

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF OHIO

 

 

UNITED STATES OF AMERICA
NOTICE

V.

LARRY HOUSEHOLDER
CASE NUMBER: 1:20-mj-00525

 

TYPE OF CASE:
O CIVIL WI CRIMINAL

 

TAKE NOTICE that a proceeding in this case has been set for the place, date, and time set forth below:

 

 

 

 

PLACE ROOM NO.

POTTER STEWART UNITED STATES COURTHOUSE |_BY VIDEOCONFERENCING

100 EAST FIFTH STREET DATE AND TIME

CINCINNATI, OHIO 8/6/2020 AT 1:30 PM
TYPE OF PROCEEDING

PRELIMINARY HEARING BEFORE MAGISTRATE JUDGE KAREN L. LITKOVITZ
GOTOMEETING INSTRUCTIONS TO BE PROVIDED TO COUNSEL PRIOR TO THE HEARING.

 

L] TAKE NOTICE that a proceeding in this case has been continued as indicated below:

 

PLACE DATE AND TIME PREVIOUSLY = |CONTINUED TO DATE
SCHEDULED AND TIME

 

 

 

RICHARD W. NAGEL, CLERK

 

U.S. MAGISTRATE JUDGE OR CLERK OF COURT

7/21/2020 (hn ¥. Wig a

DATE (BY) KEVIN MOSER, DEPUTY CLERK

TO:

COUNSEL

USMS

PRETRIAL SERVICES
PROBATION
